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IN THE UNITED STATES DISTRICT COURT
FOR THE NORTHERN DISTRICT OF ILLINOIS
EASTERN DIVISION

TANGLE INC.;
ZURU LLC; and
ZURU INC.,

Case No.: 19-cv-3160

Judge John J. Tharp, Jr.
Plaintiffs,

Mis

THE INDIVIDUALS, CORPORATIONS,
LIMITED LIABILITY COMPANIES,
PARTNERSHIPS AND UNINCORPORATED
ASSOCIATIONS IDENTIFIED ON
SCHEDULE A HERETO,

Defendants.
PLAINTIFFS’ NOTICE OF VOLUNTARY DISMISSAL

Pursuant to Rule 41(a)(1) of the Federal Rules of Civil Procedure, Plaintiffs TANGLE INC., ZURU LLC,
ZURU INC., hereby dismiss with prejudice all causes of action in the complaint against the following Defendants
identified in Schedule A. Each party shall bear its own attorney’s fees and costs.

No. Defendant

24 Ding-up-shine
39 Jewellery.garden
5] Myshine Fashion
64 South-boli

The respective Defendants have not filed an answer to the complaint or a motion for summary judgment in

this matter. Therefore, it is respectfully submitted that dismissal under Rule 41(a)(1) is appropriate.

Respectfully submitted,

Dated: November 20, 2019 By: s/Michael A. Hierl
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ZURU INC.
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CERTIFICATE OF SERVICE

The undersigned attorney hereby certifies that a true and correct copy of the foregoing Notice of Voluntary
Dismissal was filed electronically with the Clerk of the Court and served on all counsel of record and interested
parties via the CM/ECF system on November 20, 2019.

s/Michael A. Hierl

 
